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UNITED STATES DISTRICT COURT (sue 2023
WESTERN DISTRICT OF NEW YORK \

 

UNITED STATES OF AMERICA,
-v- 23-CR-63(LJV)
SIMON SANTOS-ARIAS, ORDER

Defendant.

 

Hon. Lawrence J. Vilardo, United States District Judge:

This Order is entered, pursuant to Federal Rule of Criminal Procedure 5(f) and the Due
Process Protections Act, Pub. L. No 116-182, 134 Stat. 894 (Oct. 21, 2020), to confirm the
Government’s disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny, and to summarize the possible consequences of violating those obligations.

The Government must disclose to the defense all information “favorable to an accused”
that is “material either to guilt or to punishment” and that is known to the Government. /d. at
87. This obligation applies regardless of whether the defendant requests this information or
whether the information would itself constitute admissible evidence. The Government shall
disclose such information to the defense promptly after its existence becomes known to the
Government so that the defense may make effective use of the information in the preparation
of its case.

As part of these obligations, the Government must disclose any information that can
be used to impeach the trial testimony of a Government witness within the meaning of Giglio
v. United States, 405 U.S. 150 (1972), and its progeny. Such information must be disclosed

sufficiently in advance of trial in order for the defendant to make effective use of it at trial or
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at such other time as the Court may order.' The foregoing obligations are continuing ones and
apply to materials that become known to.the Government in the future. These obligations also
apply to information that is otherwise subject to disclosure regardless of whether the
Government credits it.

In the event the Government believes that a disclosure under this Order would
compromise witness safety, victim rights, national security, a sensitive law-enforcement
technique, or any other substantial government interest, it may apply to the Court for a
modification of its obligations, which may include i# camera review or withholding or
subjecting to a protective order all or part of the information otherwise subject to disclosure?

For purposes of this Order, the Government has an affirmative obligation to seek all
information, subject to disclosure under this Order from all. current or former federal, state,
and local prosecutors, law enforcement officers, and other officers who have participated in
the prosecution, or investigation that led to the prosecution, of the offense or offenses with
which the defendant is charged.

[f the Government fails to comply with this Order, the Court, in addition to ordering
production of the information, may:

(1) specify the terms and conditions of such production;

(2) grant a continuance;

(3) impose evidentiary sanctions;

(4) impose contempt or other sanctions on any lawyer responsible for violations of the

Government’s disclosure obligations, or refer the matter to disciplinary authorities;

 

' This Order does not purport to set forth an exhaustive list of the Governments disclosure obligations.

? The Classified Information Procedures Act sets forth separate procedures to be followed in the event that the
Government believes matters relating to classified information may arise in connection with the prosecution. See 18 U.S.C.
APP. 3 § 3 ef seq.

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(5) dismiss charges before trial or vacate a conviction after trial or a guilty plea; or

(6) enter any other order that is just under the circumstances.

SO ORDERED.
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Dated: July / , 2023

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pm. Lawretice J . Vilardo
United States District Judge
